  Case 20-16080       Doc 16   Filed 02/02/22 Entered 02/02/22 10:27:13              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      20-16080
Gino's Rosemont LLC,                         )
                                             )               Chapter: 7
                                             )
                                                             Honorable David D. Cleary
                                             )
                                             )
               Debtor(s)                     )

   ORDER RE TRUSTEE'S MOTION TO COMPEL DEBTOR TO TURNOVER RECORDS

       This matter coming on for hearing on the Trustee's Motion to Compel Debtor to Turnover
Records, due notice having been given to the Debtor, Russel Lubliner and the Office of The U.S.
Trustee, and no notice of objections thereto having been filed, it is
       ORDERED, that the Motion is granted and the Debtor, in the person of Russel Lubliner, shall
turnover to the Trustee instanter the monthly statements, cancelled checks for the accounts previously
maintained by the Debtor at USbank.




                                                          Enter:


                                                                   Honorable David D. Cleary
Dated: February 02, 2022                                           United States Bankruptcy Judge

 Prepared by:
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